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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   NAKESHA SHARRIEFF
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )     No. CR-S-09-422 WBS
12                                   )
                    Plaintiff,       )
13                                   )     STIPULATION AND ORDER TO CONTINUE
          v.                         )     STATUS CONFERENCE
14                                   )
     NAKESHA SHARRIEFF, THOMAS KEYS, )
15   JR., and JARMAL DUPLESSIS,      )     Date: January 11, 2010
                                     )     Time: 9:00 a.m.
16                  Defendants.      )     Judge: Hon. William B. Shubb
     _______________________________ )
17
          It is hereby stipulated between the parties, Jean Hobler,
18
     Assistant United States Attorney, Caro Marks, attorney for defendant
19
     Nakesha Sharrieff, Erin Radekin, attorney for defendant Thomas Keys,
20
     Jr., and Michael E. Hansen, attorney for defendant Jarmal Duplessis, as
21
     follows:
22
          The Status Conference date of November 30, 2009, should be
23
     continued until January 11, 2010.
24
          The reason for the continuance is to allow defense counsel and
25
     defendants to finish reading and analyzing the 1700 pages of discovery
26
     received from the government on October. On October 28, counsel for
27
     defendant Sharrieff delivered the discovery to the defendant at the
28
              Case 2:09-cr-00422-TLN Document 36 Filed 11/24/09 Page 2 of 4


 1   Nevada City Jail, where she is detained. That jail has regulations
 2   governing how much paper an inmate may have in her possession at any
 3   one time.     An inmate at the Nevada City Jail is allowed to possess no
 4   more than two inches of paper at a time, so defense counsel negotiated
 5   a compromise with the jail officials which results in the jail’s
 6   agreement to store all the discovery for Ms. Sharrieff, and to give it
 7   to her two inches at a time so she could read it. She has not finished
 8   reading it. All defense counsel need additional time to discuss the
 9   discovery with their respective clients, and all parties need time to
10   discuss possible settlement of the case.
11        In addition, counsel for the government informed defense counsel
12   that there was a small amount of discovery still outstanding.            Once
13   counsel receive it, they must read it and discuss it with the
14   defendants.     Therefore, counsel request additional time for preparation
15   of the case.
16            IT IS THEREFORE STIPULATED that the period from the date of the
17   signing of this Stipulation up to and including January 11, 2010, be
18   excluded in computing the time within which trial must commence under
19   the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) & (B)(iv)
20   and Local Code T4, to permit necessary preparation by defense counsel.
21   Dated:    November 23, 2009
22                                             Respectfully submitted,
23                                             DANIEL BRODERICK
                                               Federal Defender
24
25                                             /S/ Caro Marks
                                               CARO MARKS
26                                             Assistant Federal Defender
                                               Attorney for Defendant
27                                             NAKESHA SHARRIEFF
28


     Sharrieff s/o                            -2-
              Case 2:09-cr-00422-TLN Document 36 Filed 11/24/09 Page 3 of 4


 1   Dated: November 23, 2009                  /s/ Erin Radekin
                                               ERIN RADEKIN
 2                                             Attorney for Defendant
                                               THOMAS KEYS, JR.
 3
 4   Dated: November 23, 2009                  /s/ Michael E. Hansen
                                               MICHAEL E. HANSEN
 5                                             Attorney for Defendant
                                               Jarmal Duplessis
 6
 7
     Dated:    November 23, 2009
 8
                                               BENJAMIN B. WAGNER
 9                                             United States Attorney
10
                                               /s/ Jean Hobler
11                                             JEAN HOBLER
                                               Assistant U.S. Attorney
12
13
14
15
16                                           ORDER
17            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
18   ordered that the hearing presently set for November 30, 2009, be
19   continued to January 11, 2010, at 8:30 a.m.           Based on the
20   representations of defense counsel and good cause appearing therefrom,
21   the Court hereby finds that the failure to grant a continuance in this
22   case would deny defense counsel reasonable time necessary for effective
23   preparation, taking into account the exercise of due diligence.          The
24   Court finds that the ends of justice to be served by granting a
25   continuance outweigh the best interests of the public and the defendant
26   in a speedy trial.      It is ordered that time from the date of the
27   signing of this Stipulation up to and including the January 11, 2010
28   status conference shall be excluded from computation of time within


     Sharrieff s/o                            -3-
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 1   which the trial of this matter must be commenced under the Speedy Trial
 2   Act pursuant to 18 U.S.C. § 3161(h)(7)(A) & (B)(iv), to allow defense
 3   counsel time to prepare.
 4        IT IS SO ORDERED.
 5
 6   Dated: November 23, 2009
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     Sharrieff s/o                         -4-
